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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 GWIN, INC.                                             §
                                                        §
        Plaintiff                                       §
                                                        §
 vs.                                                    §
                                                        §
 DON BEST SPORTS, VEGAS INSIDER.COM,                    §
 VEGASEXPERTS.COM, PREFERRED PICKS                      §
 PUBLICATIONS, INC., and SPORTS DIRECT,                 §       CASE NO. 2:06-CV-318
 INC.                                                   §       PATENT CASE
                                                        §
        Defendants                                      §

                                   MEMORANDUM OPINION

       This Memorandum Opinion construes the terms in United States Patent No. 6,260,019 (the

“‘019 Patent”).

                                        BACKGROUND

       The ‘019 Patent, which issued on July 10, 2001, discloses an electronic marketplace for

prediction information over a communications network. Particularly, the ‘019 Patent covers a

method and apparatus for facilitating transactions between prediction suppliers and prediction

consumers. Prediction suppliers provide their predictions on the outcomes of future events. The

system tracks the prediction suppliers’ accuracy. Prediction consumers can view prediction

suppliers’ track records and obtain predictions from prediction suppliers.      A supplier is

compensated, either by the consumers or by advertisers, based upon the number of consumers who

view the supplier’s predictions.

       Winning Edge, Inc. (“Winning Edge”), formerly known as GWIN, Inc., is the assignee of

the ‘019 Patent. Winning Edge claims Don Best Sports, Vegas Insider.com, Preferred Picks
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Publications, Inc., and Sports Direct, Inc. (collectively “Defendants”) infringe on various claims of

the ‘019 Patent.

                                        APPLICABLE LAW

        “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention to

which the patentee is entitled the right to exclude.’” Phillips v. AWH Corp., 415 F.3d 1303, 1312

(Fed. Cir. 2005) (en banc) (quoting Innova/Pure Water Inc. v. Safari Water Filtration Sys., Inc., 381

F.3d 1111, 1115 (Fed. Cir. 2004)). In claim construction, courts examine the patent’s intrinsic

evidence to define the patented invention’s scope. See id.; C.R. Bard, Inc. v. U.S. Surgical Corp.,

388 F.3d 858, 861 (Fed. Cir. 2004); Bell Atl. Network Servs., Inc. v. Covad Commc’ns Group, Inc.,

262 F.3d 1258, 1267 (Fed. Cir. 2001). This intrinsic evidence includes the claims themselves, the

specification, and the prosecution history. See Phillips, 415 F.3d at 1314; C.R. Bard, Inc., 388 F.3d

at 861. Courts give claim terms their ordinary and accustomed meaning as understood by one of

ordinary skill in the art at the time of the invention in the context of the entire patent. Phillips, 415

F.3d at 1312–13; Alloc, Inc. v. Int’l Trade Comm’n, 342 F.3d 1361, 1368 (Fed. Cir. 2003).

        The claims themselves provide substantial guidance in determining the meaning of particular

claim terms. Phillips, 415 F.3d at 1314. First, a term’s context in the asserted claim can be very

instructive. Id. Other asserted or unasserted claims can also aid in determining the claim’s meaning

because claim terms are typically used consistently throughout the patent. Id. Differences among

the claim terms can also assist in understanding a term’s meaning. Id. For example, when a

dependent claim adds a limitation to an independent claim, it is presumed that the independent claim

does not include the limitation. Id. at 1314–15.

        “[C]laims ‘must be read in view of the specification, of which they are a part.’” Id. (quoting

Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995) (en banc)). “[T]he



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specification ‘is always highly relevant to the claim construction analysis. Usually, it is dispositive;

it is the single best guide to the meaning of a disputed term.’” Id. (quoting Vitronics Corp. v.

Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)); Teleflex, Inc. v. Ficosa N. Am. Corp., 299

F.3d 1313, 1325 (Fed. Cir. 2002). This is true because a patentee may define his own terms, give

a claim term a different meaning than the term would otherwise possess, or disclaim or disavow the

claim scope. Phillips, 415 F.3d at 1316. In these situations, the inventor’s lexicography governs.

Id. Also, the specification may resolve ambiguous claim terms “where the ordinary and accustomed

meaning of the words used in the claims lack sufficient clarity to permit the scope of the claim to

be ascertained from the words alone.” Teleflex, Inc., 299 F.3d at 1325. But, “‘[a]lthough the

specification may aid the court in interpreting the meaning of disputed claim language, particular

embodiments and examples appearing in the specification will not generally be read into the

claims.’” Comark Commc’ns, Inc. v. Harris Corp., 156 F.3d 1182, 1187 (Fed. Cir. 1998) (quoting

Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1571 (Fed. Cir. 1988)); see also Phillips,

415 F.3d at 1323. The prosecution history is another tool to supply the proper context for claim

construction because a patent applicant may also define a term in prosecuting the patent. Home

Diagnostics, Inc., v. Lifescan, Inc., 381 F.3d 1352, 1356 (Fed. Cir. 2004) (“As in the case of the

specification, a patent applicant may define a term in prosecuting a patent.”).

       Although extrinsic evidence can be useful, it is “‘less significant than the intrinsic record in

determining the legally operative meaning of claim language.’” Phillips, 415 F.3d at 1317 (quoting

C.R. Bard, Inc., 388 F.3d at 862). Technical dictionaries and treatises may help a court understand

the underlying technology and the manner in which one skilled in the art might use claim terms, but

technical dictionaries and treatises may provide definitions that are too broad or may not be

indicative of how the term is used in the patent. Id. at 1318. Similarly, expert testimony may aid



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a court in understanding the underlying technology and determining the particular meaning of a term

in the pertinent field, but an expert’s conclusory, unsupported assertions as to a term’s definition is

entirely unhelpful to a court. Id. Generally, extrinsic evidence is “less reliable than the patent and

its prosecution history in determining how to read claim terms.” Id.

                                          CLAIM TERMS

Providing an Electronic Marketplace of Predictions Over a Communications Network

        Claims 1 and 17 contain, in the preamble, the term “providing an electronic marketplace of

predictions over a communications network.” Defendants claim this language means “providing a

marketplace for predictions over the Internet.” Defendants further claim the preamble limits the

scope of the claim to methods that “provid[e] a marketplace for predictions over the Internet.”

        Winning Edge claims the preamble does not limit the scope of the claims and contends

“providing an electronic marketplace of predictions over a communications network” means

“providing a plurality of suppliers and a plurality of consumers and an electronic hub, or

‘marketplace,’ such as a Web site, for conducting transactions including supplying and consuming

predictions of future events. The electronic marketplace is accessible over a communications

network, such as the Internet.”

        Courts determine whether a preamble limits a claim only after a review of the entire patent

to understand what the inventors actually invented and intended the claim to encompass. Catalina

Mktg. Int’l, Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002) (quoting Corning

Glass Works v. Sumitomo Elec. U.S.A., Inc., 868 F.2d 1251, 1257 (Fed. Cir. 1989)). While there is

no litmus test to determine when a preamble limits the scope of the claims, in general a preamble

limits the invention if it recites essential steps or structure, or if the preamble is “necessary to give

life, meaning, and vitality” to the claim. Id. (quoting Pitney Bowers, Inc. v. Hewlett-Packard Co.,



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182 F.3d 1298, 1305 (Fed. Cir. 1999)). In contrast, a preamble does not limit the claim when the

claim body describes a structurally complete invention and the preamble only states a purpose or

an intended use for the invention. Id. (quoting Rowe v. Dror, 112 F.3d 473, 478 (Fed. Cir. 1997)).

       The preamble in claims 1 and 17 states a purpose or intended use for the invention. The

bodies of claims 1 and 17 describe functionally complete methods without the preamble. Further,

nothing in the ‘019 Patent suggests the preamble limits the claimed methods or that the claimed

methods are limited to “providing a marketplace for predictions over the Internet.” While the

specification discloses a prediction marketplace over the Internet, the inventor chose to direct his

invention to an “electronic network-based marketplace” and disclosed marketplace transactions that

do not, in part, occur over the Internet or electronically. ‘019 Patent, col. 1:7–9 (“The present

invention is directed to an electronic network-based marketplace for supplying and consuming

predictions of future events.”); id. at col. 9:48–59 (describing embodiment where purchaser uses

monies pre-paid by check, money order, credit card, bank deposit, or other manner to pay for

purchased prediction information); id. at col. 12:34–58 (describing embodiment where a marketplace

facilitator pays a prediction supplier via a mailed check, a monetary credit on the supplier’s credit

card, or a direct deposit to the supplier’s bank account, among other forms of payment). Thus,

claims 1 and 17 are not limited to methods that provide a marketplace for predictions over the

Internet. As the preamble does not limit the claims, it does not require construction. Altris, Inc. v.

Symantec Corp., 318 F.3d 1363, 1371 (Fed. Cir. 2003) (stating that if the preamble does not limit

claim scope “the preamble is of no significance to claim construction”); see also Ciena Corp. v.

Nortel Networks Inc., No. 2:05cv14, 2006 WL 1133798, at *22 (E.D. Tex. Apr. 25, 2006) (Davis,

J.) (“The preamble does not give life, meaning and vitality to the claim. Accordingly, the Court does

not need to construe the term in the preamble.”).



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Displaying a First Screen Requesting Identifying Information From a First Consumer,
Determining at Least One Performance Metric Reflective of the Accuracy of Said at Least One
Prediction

       Claim 1 contains the term “displaying a first screen requesting identifying information from

a first consumer, determining at least one performance metric reflective of the accuracy of said at

least one prediction.” The parties dispute the construction of “determining at least one performance

metric . . .” and whether the claims require performance of the “displaying” and “determining” steps

in sequence. Defendants do not substantively disagree with Winning Edge’s construction of

“displaying a first screen requesting identifying information from a first consumer” but contend the

term does not require construction.

Displaying a First Screen Requesting Identifying Information From a First Consumer

       Winning Edge contends “displaying a first screen requesting identifying information from

a first consumer” means “presenting a display window requesting identifying information from a

consumer, such as a user name and password.” Defendants do not substantively disagree with

Winning Edge’s construction but contend the term does not require construction.

       A lay jury will understand the term “displaying a first screen requesting identifying

information from a first consumer.” Thus, the term does not require construction. See Orion IP,

LLC v. Staples, Inc., 406 F. Supp. 2d 717, 738 (E.D. Tex. 2005) (Davis, J.) (declining to construe

claim terms and noting “although every word used in a claim has a meaning, not every word requires

construction”).

Determining at Least One Performance Metric Reflective of the Accuracy of Said at Least One
Prediction

       Winning Edge claims “determining at least one performance metric reflective of the accuracy

of said at least one prediction” means “to find out by investigation or calculation at least one

performance metric specifically indicative of the accuracy of the prediction.” Defendants contend


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the term means “automatically calculating (i.e. without human intervention) a metric reflecting the

accuracy of at least one prediction from the supplier of one or more predictions.” The dispute

centers on the construction of “determining” and whether the claims require the method to

“automatically” determine “at least one performance metric reflective of the accuracy of said at least

one prediction.”

        One of ordinary skill in the art would understand that within the context of the ‘019 Patent,

“determining” means “calculating.” The claim language implicitly requires a calculation to produce

the “at least one performance metric reflective of the accuracy of the at least one prediction,” and

the “determining” step is the only step that could perform the calculation. The specification is

consistent with the claim language and describes various metrics, all of which require some

calculation based upon a predictor’s historical record. Id. at col. 6:60–col. 7:22 (describing various

performance metrics, including ratings point accumulation, ratings points ratios, and daily average

of difference between won and lost ratings points). Thus, “determining” means “calculating.”

        One of ordinary skill in the art would also understand the claims do not require an automatic

calculation. The claim language does not require the method to automatically determine or calculate

“at least one performance metric specifically indicative of the accuracy of the prediction.”

        The specification does not indicate the method requires automatic calculation of “at least one

performance metric specifically indicative of the accuracy of the prediction.” The specification

discloses embodiments wherein the user provides performance metric calculation criteria and

initiates the calculation of performance metrics based upon that criteria. Id. at col. 6:19–54. In these

embodiments, the user defines a relevant prediction performance time period and orders the system

to calculate performance metrics based upon each predictor’s historical performance over the time

period. Id. Subsequently, the system calculates a performance metric, such as ratings points, over



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the user’s selected time period and displays the performance results of the best prediction suppliers

to the user. Id. at col. 6:47–col. 7:22.

        Defendants note the specification touts the benefits of “on-the-fly” metrics updates.

However, this functionality is not the essence of the invention and does not limit the claims. See

Teleflex, 299 F.3d at 1326 (stating “limitations from the specification are not to be read into the

claims”). Thus, for the abovementioned reasons, “determining at least one performance metric

reflective of the accuracy of said at least one prediction” means “calculating a metric reflecting the

accuracy of at least one prediction from the supplier of one or more predictions.”

Whether the “Displaying” and “Determining” Steps Must Occur Sequentially

        Defendants assert the claim language requires the “displaying” and “determining” steps to

occur sequentially. Winning Edge contends the claim is not limited to a method that performs the

“displaying a first screen requesting identifying information from a first consumer” step before the

method performs the “determining at least one performance metric reflective of the accuracy of said

at least one prediction” step.

        Courts generally do not construe method claims to require the method be performed in the

order written. Altiris, Inc. v. Symantec Corp., 318 F.3d 1363, 1369 (Fed. Cir. 2003) (quoting

Interactive Gift Express, Inc. v. Compuserve Inc., 256 F.3d 1323, 1342–43 (Fed. Cir. 2001)).

However, courts limit a method claim to cover only methods performed in the order written if the

method steps actually recite an order. Id. If the method steps do not actually recite an order, courts

may limit a method claim to cover only methods performed in the order written if the method steps

implicitly require that they be performed in the order written. Id.

        Method steps implicitly require performance in the order written in two instances. First,

method steps implicitly require sequential performance if the claim language, as a matter of logic,



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requires the steps be performed in the order written. Id. at 1369–70. (citing Interactive Gift, 256

F.3d at 1343). Second, if, as a matter of logic, the claim language does not require the steps be

performed in the order written, method steps implicitly require sequential performance if the

specification “directly or implicitly requires such a narrow construction.” Id. at 1370 (quoting

Interactive Gift, 256 F.3d at 1343).

         The claim language does not actually recite an order for the “displaying” and “determining”

steps. Further, logic does not require the method to “display[] a first screen requesting identifying

information from a first consumer” before it “determin[es] at least one performance metric reflective

of the accuracy of said at least one prediction,” as the two steps are unconnected and nothing in the

“determining” step requires completion of the “displaying” step.

         Finally, the specification does not directly or implicitly require a narrow construction. While

the disclosed embodiments disclose the “determining” step occurring after the user logs in, it is also

consistent with the specification that the system calculates the performance metrics before the user

logs in. See ‘019 Patent, col. 5:37–51 (describing embodiment where a user enters search

parameters and the system queries a database and retrieves and displays stored data, such as

performance metrics); id. at col. 6:19–7:22, col. 8:4–11 (describing embodiment where a user, before

he logs in, can initiate the calculation of a performance metric and select a prediction supplier to

view based upon that supplier’s performance metric). Thus, the “displaying” and “determining”

steps do not need to be performed sequentially, as the claim language does not recite an actual order

and the patent does not directly or implicitly require performance of the steps in the order written.

Metric

         Claim 1 contains the term “metric.” Winning Edge contends “metric” means “a system of

related measures that facilitates the quantification of some particular characteristic.” Defendants



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do not substantively disagree with Winning Edge’s construction but contend “metric” does not

require construction.

         The term “metric” has a specific meaning within the context of the ‘019 Patent. See ‘019

Patent, Fig. 5A, col. 4:59–col. 5:33 (discussing performance link and building a performance

record); id. at col. 6:64–col. 7:9 (discussing accounting of “rating points” to determine the top 25

prediction suppliers). Thus, the term requires construction. Phillips, 415 F.3d at 1312–13; Alloc,

342 F.3d at 1368.

         The Court adopts Winning Edge’s construction, as the parties do not substantively disagree

on the construction of “metric.” Thus, “metric” means “a system of related measures that facilitates

the quantification of some particular characteristic.”

Debiting and Crediting Claim Terms

         Claims 1 and 2 contain the terms “debiting an account of said first consumer . . . ” and “. .

. [an] account of the first consumer. . . is debited . . . ” Claims 1, 17, 23, 24, and 25 contain the terms

“crediting an account [of the prediction supplier] . . . ” and “credit an account of the selected

prediction supplier.” The parties’ constructions1 for the “debiting” and “crediting” terms raise two

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            For the “debiting” terms, Winning Edge contends “debiting an account” means “making an electronic
record of the transaction in which a supplier’s prediction has ben displayed on request for charging the consumer for
the specific transaction requested by the consumer. Payment may then be made in any of several ways, including by
credit card, debiting a checking account or charging against a sum in a prepaid account.”
          Winning Edge further claims “for requesting” means “upon request by the consumer such as by clicking a
mouse through a selection menu or a series of hyperlinks to display and view the desired prediction of the supplier.”
Finally, Winning Edge defines the term “debit” as “a record of indebtedness; specifically: an entry on the left-hand
side of an account constituting an expense or asset account or a deduction from a revenue, net worth, or liability
account.”
          Defendants contend “debiting an account of said first consumer for requesting said first supplier’s
predictions” means “electronically withdrawing funds directly from, or issuing a charge to, an account in the name
of the consumer each time the consumer requests the supplier’s prediction.” At the Markman hearing, Defendants
distanced themselves from the “directly” limitation. Defendants further assert that the claim language does not
contain the term “debit,” and thus “debit” should not be construed. The parties agree that the “debiting an account . .
.” and “. . . is debited . . . ” terms should have consistent constructions.
          For the “crediting” terms, Winning Edge contends “crediting an account of said first supplier, whose
prediction for the first upcoming event has been displayed upon the request of said first consumer” means “making
an electronic record of the transaction in which a supplier’s prediction has been displayed on request for making
periodic payments to that supplier.” Winning Edge further contends “credit” means “an accounting entry system

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related issues: (1) whether the debiting and crediting functions require a direct electronic withdrawal

or deposit of funds or whether the debiting and crediting functions merely create transaction records;

and (2) whether the debiting and crediting functions require a withdrawal or deposit of funds each

time the consumer requests a supplier’s prediction or if the debiting and crediting functions allow

settling of the debt or aggregate payment to a supplier at a later time.

         One of ordinary skill in the art, in the context of the ‘019 Patent, would understand the

debiting and crediting functions are accounting functions and do not require a direct electronic

transfer of funds each time the consumer requests a supplier’s prediction. The ordinary meanings

of debit and credit encompass accounting records and are distinct from payment.

         Claim 1 requires “debiting” and “crediting” of an “account.” Id. at col. 13:16–36. Claim

2, which depends on claim 1, limits the debited account to a prepaid account, a bank account, and

a credit card account. Id. at col. 13:37–40. The claims’ use of the term requires the “debiting”

function to be consistent across all account types.

         The specification confirms the terms’ ordinary meanings. One embodiment allows a

consumer to accumulate credits to purchase prediction information. Id. at col. 9:47–59. To

accumulate credits, the consumer can pay the marketplace facilitator or the facilitator can give the

consumer complimentary credits. Id. at Fig. 18, col. 9:47–53. The consumer can pre-pay by check,

money order, credit card, bank account withdrawals, or another manner. Id. at col. 9:53–59. Thus,


that either decreases assets or increases liabilities; in general, it is an arrangement for deferred payment for goods
and services.”
          Defendants contend “crediting an account of said first supplier, whose prediction for the first upcoming
event has been displayed upon the request of said first consumer” means “automatically depositing funds directly
into an account of the prediction supplier for each time the supplier’s prediction is displayed upon the request of the
consumer.” At the Markman hearing, Defendants distanced themselves from the “directly” limitation. Defendants
further assert that the claim language does not contain the term “credit,” and thus “credit” should not be construed.
The parties agree that the “crediting an account . . .” and “credit an account . . . ” terms should have consistent
constructions.




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the embodiment allows the facilitator to possess the monies before the consumer purchases

prediction information and therefore does not require the withdrawal of funds each time the

consumer purchases prediction information.

       When the consumer decides to purchase prediction information, two windows display the

consumer’s selected form of payment, the consumer’s available credit, and the consumer’s credit

balance after the sale completes. Id. at Fig. 19, col. 9:60–col.10:10. The specification also allows

the consumer to pay for prediction information purchases with a credit card or other payment that

involves a financial institution. Id. at col. 10:7–10. The patent does not indicate whether this

function transfers funds for each purchase or whether the facilitator can periodically bill the

consumer.

       Upon purchase, the supplier accumulates credits and the marketplace facilitator pays the

supplier from time to time, either periodically or when the supplier accumulates a predetermined

amount of credits.    Id. at col. 12:34–48 (describing prediction supplier payment under all

embodiments); see also id. at col. 11:66–col. 12:33 (describing a “credited prediction” in context

of embodiment where facilitator pays prediction suppliers based off the number of consumers who

viewed the prediction suppliers’ prediction information).

       In total, the specification distinguishes between the debiting and depositing funds to the

marketplace facilitator and between crediting and paying funds to a prediction supplier. Thus, the

debiting and crediting functions do not require a direct electronic withdrawal or direct electronic

deposit of funds and do not require a withdrawal or deposit of funds each time the consumer requests

a supplier’s prediction. The functions merely create a record of the transaction and are independent

of when or how consumers pay the facilitator and when or how the facilitator pays the suppliers.

       For the abovementioned reasons, “debiting an account” means “making an electronic record



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of indebtedness” and “is debited” means “is recorded in an electronic record of indebtedness.” The

term “credit [crediting] an account” means “make [making] an electronic record of an arrangement

for payment.”

Calculating Performance Information Reflective of the Accuracy of Said Predictions

       Claims 17, and 24 contain the term “calculating performance information reflective of the

accuracy of said predictions.” Winning Edge contends “calculate” means “to determine by

mathematical process.” Defendants claim “calculating performance information reflective of the

accuracy of said predictions” means “automatically calculating information reflecting the accuracy

of each of the suppliers of the predictions.” Similar to the “determining” claim limitation, the

dispute centers on whether the claim term requires automatic calculation of “performance

information reflective of the accuracy of said prediction.”

       The reasons to not limit “determining” to automatic calculation apply with equal force.

Thus, the claims do not require the “calculating” function to occur automatically. Further, a lay jury

will readily understand the term “calculate,” and it does not need construction. See Orion IP, 406

F. Supp. 2d at 738.

Best Performance Records

       Claim 20 contains the term “best performance records.” Winning Edge contends “best” is

“understood in reference to the performance information calculated and transmitted to the prediction

consumer.” Winning Edge further states “[f]or example, if the performance information relates to

a winning percentage over a user-selected time frame, ‘best’ would be understood as the highest

performing individual or group of individual suppliers applying those criteria.” Defendants contend

the term “best performance records” is indefinite.

       A claim is invalid under 35 U.S.C. § 112 ¶ 2 if it fails to particularly point out and distinctly



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claim the subject matter the applicant regards as the invention. The party seeking to invalidate a

claim under 35 U.S.C. § 112 ¶ 2 as indefinite must show by clear and convincing evidence that one

skilled in the art would not understand the scope of the claim when read in light of the specification.

Intellectual Prop. Dev., Inc. v. UA-Columbia Cablevision of Westchester, Inc., 336 F.3d 1308, 1319

(Fed. Cir. 2003). A claim is not indefinite merely because it poses a difficult issue of claim

construction. Bancorp Servs., L.L.C. v. Hartford Life Ins. Co., 359 F.3d 1367, 1371 (Fed. Cir.

2004).

         Claim 17, which claim 20 depends on, claims a method that comprises the step of

“calculating performance information reflective of the accuracy of said predictions made by each

of said plurality of prediction suppliers.” ‘019 Patent, col. 15:17–33. Claim 20 further requires the

step of “transmitting performance information for predictions suppliers having the best performance

records.” Id. at col. 15:41–43. Thus, in the context of claim 20, the “performance information for

prediction suppliers having the best performance records” is the calculated performance information

for prediction suppliers who have the highest performance.

         One skilled in the art would understand the scope of “best performance records” when read

in light of the specification. Thus, the claim is definite. The specification describes an embodiment

that allows a user to enter a number of parameters to define the “best predictor” search. Id. at Fig.

6, col. 5:37–43. The user subsequently clicks on the “GO!” button to retrieve a list of the best

predictors given the user’s search parameters. Id. at Fig. 6, col. 6:47–54. The system then displays

a list of the “best predictors” based upon the calculated performance information reflective of the

accuracy of each prediction supplier’s predictions. Id. at Fig. 7 (displaying top 25 prediction

suppliers with the highest amount of “rating points”); id. at col. 6:55–col. 7:22 (describing Fig. 7 and

the calculation of “ratings points” and other performance information that reflects the accuracy of



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each prediction supplier’s predictions).

       While Fig. 7 depicts a list of prediction suppliers with the top 25 performance records, one

of ordinary skill in the art would understand the best performance records are not limited to the top

25 prediction suppliers and their performance information but could encompass transmittal of

performance information for a different number of prediction suppliers. Of importance is, given the

number of prediction suppliers that will be displayed, performance information is transmitted for

those suppliers whose performance information indicates the supplier’s predictions are sufficiently

accurate to be transmitted.

       For the abovementioned reasons, the term “best performance records” means “the one or

more records that correspond to the best of the calculated performance information reflective of the

accuracy of said predictions made by each of said plurality of prediction suppliers.”

Computer Storage Medium

       Claim 23 contains the term “computer storage medium.” Winning Edge contends the term

means “one or more devices or recording media into which data can be stored until some later time,

and from which the data can be obtained.” Further, Winning Edge claims “[t]he computer storage

medium can include any of the following: semiconductor memory, disk drives or any other storage

medium known to one of skill in the art.” Defendants argue “computer storage medium” does not

require construction. Winning Edge is willing to adopt Defendants’ construction but continues to

assert the correctness of its own construction.

       A lay jury will understand the term “computer storage medium.” Thus, the tem does not

require construction. See Orion IP, 406 F. Supp. 2d at 738.




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Obtaining Performance Information

       Claim 25 claims “a method of obtaining prediction information.” Winning Edge contends

the preamble does not limit the claim. This term only appears in Winning Edge’s Opening Brief on

Claim Construction and was not included in the parties’ P.R. 4-3 Joint Claim Construction Chart.

Additionally, Defendants did not brief the term and apparently do not dispute Winning Edge’s

construction. Thus, “obtaining performance information” does not limit the claim and the term

requires no construction. TGIP, Inc. v. AT&T Corp., 512 F. Supp. 2d 696, 712 (E.D. Tex. 2007)

(Clark, J.) (“The only terms that need to be construed are those ‘that are in controversy, and only

to the extent necessary to resolve the controversy.’”) (quoting Vivid Techs., Inc. v. Am. Sci. & Eng’g,

Inc., 200 F.3d 795, 803 (Fed. Cir. 1999)); see also Altris, Inc., 318 F.3d at 1371 (stating that if the

preamble does not limit claim scope “the preamble is of no significance to claim construction”).

                                          CONCLUSION

       For the foregoing reasons, the Court interprets the claim language in this case in the manner

set forth above. For ease of reference, the Court’s claim interpretations are set forth in a table as

Appendix B. The claims with the disputed terms in bold are set forth in Appendix A.

       So ORDERED and SIGNED this 11th day of February, 2008.




                               __________________________________
                               LEONARD DAVIS
                               UNITED STATES DISTRICT JUDGE




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                                                    APPENDIX A

                                                U.S. Pat. No. 6,260,019



1. A method of providing an electronic marketplace of predictions over a communications network, the method
comprising:
electronically receiving and storing at least one prediction of at least one supplier for at least one event whose outcome
has not yet been determined;
displaying a first screen requesting identifying information from a first consumer, determining at least one
performance metric reflective of the accuracy of said at least one prediction, after the outcome of the event has been
determined;
displaying a second screen showing said performance metric, upon request by said first consumer;
displaying a first supplier's prediction for a first upcoming event to said first consumer, upon request by that consumer
to view said first supplier's prediction;
debiting an account of said first consumer for requesting said first supplier's prediction; and
crediting an account of said first supplier, whose prediction for the first upcoming event has been displayed upon
the request of said first consumer.

2. The method of claim 1, wherein one of a prepaid account of the first consumer, a bank account of the first
consumer, and a credit card account of the first consumer is debited for requesting said first supplier's prediction.

2. The method of claim 1, wherein one of a prepaid account of the first consumer, a bank account of the first consumer,
and a credit card account of the first consumer is debited for requesting said first supplier's prediction.

17. A method of providing an electronic marketplace for predictions, the method comprising:
receiving at least one prediction from each of a plurality of prediction suppliers;
calculating performance information reflective of the accuracy of said predictions made by each of said plurality
of prediction suppliers;
transmitting said performance information to a prediction consumer;
receiving a request from said prediction consumer to purchase a new prediction from a prediction supplier selected by
said prediction consumer;
transmitting said new prediction to said prediction consumer; and
crediting an account of the prediction supplier selected by the prediction consumer.

20. The method of claim 17, comprising transmitting performance information for prediction suppliers having the best
performance records.

23. A computer storage medium comprising:
code for receiving at least one prediction from each of a plurality of prediction suppliers;
code for calculating performance information reflective of the accuracy of predictions made by each of said plurality
of prediction suppliers;
code for transmitting said performance information to a prediction consumer;
code for receiving a request from said prediction consumer to purchase a new prediction from a prediction supplier
selected by said prediction consumer;
code for transmitting said new prediction to said prediction consumer; and
code for crediting an account of the prediction supplier selected by the prediction consumer.

24. A computer programmed to:
receive at least one prediction from each of a plurality of prediction suppliers;
calculate performance information reflective of the accuracy of predictions made by each of said plurality of prediction
suppliers;
transmit said performance information to a prediction consumer;
receive a request from said prediction consumer to purchase a new prediction from a selected prediction supplier;
transmit said new prediction to said prediction consumer; and

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credit an account of the selected prediction supplier.

25. A method of obtaining prediction information, the method comprising:
viewing performance information reflective of the outcome of at least one past prediction made by at least one prediction
supplier;
viewing which prediction information is available from at least one prediction supplier,
electing to purchase prediction information from a selected prediction supplier;
viewing said purchased prediction information; and
crediting an account of the selected prediction supplier.




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                                                APPENDIX B

 Ref.   Term or Phrase to be Construed                               Court’s Construction
 Nos.   (Claims)
  1     providing an electronic marketplace    No construction required
        of predictions over a
        communications network
        (claim 1)

        providing an electronic marketplace    No construction required
        of predictions
        (claim 17)
  2     displaying a first screen requesting   No construction required
        identifying information from a first
        consumer
        (claim 1)
  3     determining at least one               calculating a metric reflecting the accuracy of at least one
        performance metric reflective of the   prediction from the supplier of one or more predictions
        accuracy of said at least one
        prediction
        (claim 1)
  4     metric                                 AGREED – a system of related measures that facilitates the
        (claim 1)                              quantification of some particular characteristic
  5     debiting an account                    making an electronic record of indebtedness
        (claim 1)

        is debited                             is recorded in an electronic record of indebtedness
        (claim 2)
  6     crediting an account                   making an electronic record of indebtedness
        (claim 1, 17, 23, 25)

        credit an account                      make an electronic record of indebtedness
        (claim 24)
  7     calculating performance information    No construction required
        reflective of the accuracy of said
        predictions
        (claims 17, 23)
  8     best performance records               the one or more records that correspond to the best of the
        (claim 20)                             calculated performance information reflective of the accuracy of
                                               said predictions made by each of said plurality of prediction
                                               suppliers
  9     computer storage medium                No construction required
        (claim 23)
  10    obtaining prediction information       No construction required
        (claim 25)




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